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1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     331 J Street, Suite 200
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4    Email:LawOffice.mbigelow@gmail.com
5    Attorney for Defendant
     Ahmad Khan
6
                       IN THE UNITED STATES DISTRICT COURT
7
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S-09-138 MCE
10                                     )
                  Plaintiff,           )   REQUEST FOR EXONERATION OF BOND
11                                     )   AND PROPOSED ORDER EXONERATING
          vs.                          )   BOND AND FOR RECONVEYANCE OF
12                                     )   SECURITY
                                       )
13   AHMAD KHAN                        )
                                       )
14                Defendant            )
                                       )
15

16        The above captioned matter came before this Court on May
17   26, 2011 for judgment and sentencing. The above named defendant
18
     was then sentenced.
19
          Sentencing having been imposed, it is respectfully
20
     requested that bail posted in this action be exonerated and that
21
     the Deeds of Trust posted as security, reflected at Docket
22
     entries 51, 52, and 65, be reconveyed.
23

24
     DATED October 4, 2011             /S/ MICHAEL BRADY BIGELOW, Esq.
25                                     Michael B. Bigelow
                                       Counsel for Ahmad Khan


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1                                                       ORDER
2

3
                           IT IS HEREBY ORDERED that, sentencing in the above
4
     captioned matter having been imposed, bail is hereby exonerated
5
     and the Deeds of Trust posted as security for Ahmad Khan,
6
     reflected at Docket Entries 51, 52,and 65, shall be reconveyed.
7
     October 13, 2011
8
                                                     __________________________________
9                                                    MORRISON C. ENGLAND, JR
                                                     UNITED STATES DISTRICT JUDGE
10   DEAC_Signature-END:




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